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                                                         Daniel Szalkiewicz  Filed 12/09/22             Page
                                                                                        P.C. Mail - Doe v. Sebrow1 of 1 PageID: 188



                                                                                              Daniel Szalkiewicz <daniel@lawdss.com>



 Doe v. Sebrow
 1 message

 Daniel Szalkiewicz <daniel@lawdss.com>                                                                       Mon, Nov 21, 2022 at 1:44 PM
 To: Ira W Heller <iwhelleresq@gmail.com>

    Ira,

    I hope all is well.

    I just served you with the discovery demands and EBT notice.

    Pursuant to the court's order, you were supposed to send Baila's initial disclosures by November 12, 2022. We still have
    not received them.

    Additionally, We are supposed to meet and discuss ESI discovery by today. When would you like to talk? I can do it later
    this week, but the holiday is on us.

    Thank you.

    Very Truly Yours,

    Daniel S. Szalkiewicz, Esq.

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